Case 1:19-cr-00020-MAC-ZJH Document 12 Filed 04/04/19 Page 1 of 2 PageID #: 19



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                   §
                                            §          No. 1:18-CR-6
 v.                                         §          (Hon. Judge Marcia Crone)
                                            §
 JOSHUA RANDALL HANSEN                      §


                                ELEMENTS OF THE OFFENSE

        You charged in Count One of the indictment with a violation of 18 U.S.C. §

751(a), that makes it a federal crime for a federal inmate to escape from a federal facility.

        For you to be found guilty of such offense, the government must prove each of the

following elements of the offense, beyond a reasonable doubt:


        First           That you were, at the time stated in the indictment, in federal
                        custody;
        Second:         That at such time you were in federal custody due to a lawful
                        conviction on for an offense, namely a federal felony offense, as
                        described in the indictment;
        Third:          That you left or attempted to leave federal custody without
                        permission; and,
        Fourth:         That you knew, at such time, that leaving would result in your
                        absence from custody without permission.




Elements 18 U.S.C. ' 1791(a)(2) – Page 1
Case 1:19-cr-00020-MAC-ZJH Document 12 Filed 04/04/19 Page 2 of 2 PageID #: 20




                                                Respectfully submitted,

                                                JOSEPH D. BROWN
                                                UNITED STATES ATTORNEY

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                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was sent by
ECF notification to counsel of record for each defendant listed herein on the date of the
electronic filing of this document.


                                                /s/ Brittian Albert Featherston
                                                Brittian Albert Featherston
                                                ASSISTANT U.S. ATTORNEY




Elements 18 U.S.C. ' 1791(a)(2) – Page 2
